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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                             DOCKET No. 1:20-cv-12076-TSH

 PAUL JONES

        Plaintiff,
                                                           DEFENDANT’S MOTION
 v.
                                                           TO DISMISS PLAINTIFF’S FIRST
                                                           AMENDED VERIFIED COMPLAINT
 MONTACHUSETT REGIONAL TRANSIT
 AUTHORITY, et al.

        Defendants




       Defendant, Montachusett Regional Transit Authority (“MART” or “Defendant”) hereby

files this second Motion to Dismiss Plaintiff’s Complaint on the grounds that Plaintiff’s

Complaint fails to state a claim for the violation of the Telephone Consumer Protection Act, 47

U.S.C., §§ 227 (“TCPA”) for among other reasons, that Plaintiff was not a MART “consumer”

as that is defined under the TCPA. Defendant relies upon and incorporates herein the

memorandum of law filed herewith.

       WHEREFORE, Defendant respectfully requests that Plaintiff’s Complaint be dismissed

and judgment entered in favor of Defendant on all of Plaintiff’s claims.
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                                            DEFENDANTS

                                            MONTACHUSETT REGIONAL TRANSIT
                                            AUTHORITY, REBECCA BADGLEY,
                                            DONNA LANDRY, BONNIE MAHONEY,
                                            KAREN CORDIO, JOANNE NORRIS,
                                            STEPHANIE RICHARDS, TAMARA
                                            SHUMOVSKAYA, JESSICA TORRES,
                                            AMANDA KUKTA, ROBERT MONK,
                                            MICHELLE MOYO, IVAN ROMAN, and
                                            CRYSTAL GEISERT

                                            By their attorneys,


                                            /s/ Deborah I. Ecker
                                            Mark R. Reich (BBO# 553212)
                                            Deborah I. Ecker (BBO# 554623)
                                            KP Law, P.C.
                                            101 Arch Street, 12th Floor
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                                            (617) 556-0007
                                            mreich@k-plaw.com
                                            decker@k-plaw.com
Dated: September 27, 2021

781161/MART/0006
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                        CERTIFICATE OF COMPLIANCE WITH L.R. 7.1(A)(2)

          Pursuant to Local Rule 7.1(A)(2) of the United State District Court for the District of

Massachusetts, I hereby certify that I communicated with Plaintiff by email on September 24,

2021, with respect to the Motion to Dismiss Plaintiff’s First Amended Verified Complaint.

                                                     /s/ Deborah I. Ecker




                                 CERTIFICATE OF SERVICE

       I, Deborah I. Ecker certify that the above document will be served by first-class mail

upon any party or counsel of record who is not a registered participant of the Court's ECF

system, upon notification by the Court of those individuals who will not be served electronically.


Date: September 27, 2021                             /s/ Deborah I. Ecker
